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IN THE UNITED sTATEs DISTRICT coURT FN-ED BY
FOR THE wEsTERN DISTRICT oF TENNESSEE 5

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WES'I'ERN DIVISION

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JEFFREY P. BECKHAM,

Plail`ltiff,
VS. NO. 05-2262-Ml/P
HARDIN COUNTY, et al.,

Defendants.

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ORDER TRANSFERRING CASE PURSUANT TO 28 U.S.C. § 1406(6.)

 

Plaintiff Jeffrey' P. Beckham, Tennessee Department of
Correction prisoner number 350927, an inmate at the West Tennessee
State Penitentiary (“WTSP”) in Henning, Tennessee, filed a p;g §§
complaint pursuant to 42 U.S.C. § 1983 on April 4, 2005. The Court
issued an order on May ll, 2005 directing the plaintiff, within
thirty days, to submit the documentation required by the Prison
Litigation Reform Act of 1995 (“PLRA”), 28 U.S.C. §§ 1915(a)-(b) or
remit the full civil filing fee. Plaintiff submitted the required
documentation on May 25, 2005. Because this case is being
transferred, the assessment of the filing fee issue will be left to
the transferee court.

Twenty-eight U.S.C. § 1391(b) authorizes the commencement
of a civil action only in a judicial district

(1) where any defendant resides, if all defendants reside
in the same State, {2) a judicial district in which a

substantial part of the events or omissions giving rise to
the claim occurred . . . , or (3) a judicial district in

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wlth Rule 58 and/m 79(a) FHCP on E/ ¢g/ §2 § @

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which any defendant may be found, if there is no district
in which the action may otherwise be brought.

This claim has no connection with the Western Division of
this district apart from the fact that the plaintiff is currently
incarcerated within this division, a fact that has no bearing on the
proper venue for this action. All the defendants can apparently be
found in Hardin County, and the allegedly wrongful acts occurred in
Hardin County. Hardin County is in the Eastern Division of the
Western District of Tennessee. 28 U.S.C. § 123(c)(l). Accordingly,
the complaint asserts no basis for venue in the Western Division of
this district.

Twenty-eight U.S.C. § l406(a) states:

The district court of a district in which is filed a case

laying venue in the wrong division or district shall

dismiss, or if it be in the interest of justice, transfer

such case to any district or division in which it could

have been brought.
For the reasons stated, this action should have been brought in the
Eastern Division of this district. 28 U.S.C. § 123(c)(l). Therefore,
it is hereby ORDERED, pursuant to 28 U.S.C. § 1406(a), that this case
is TRANSFERRED, forthwith, to the Western District of Tennessee,

Eastern Division.

IT Is so oRDERED this \S\ day of August, 2005.

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JO PHIPPS MCCALLA
TED STATES DISTRICT JUDGE

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CV-02262 Was distributed by faX, mail, or direct printing on
September 2, 2005 to the parties listed.

 

Jeffrey Beckham

350927

P.O. Box 1150 11-A-O7
Henning, TN 38041--1 15

Honorable Jon McCalla
US DISTRICT COURT

